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 8                      IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE DISTRICT OF ARIZONA

10   Manuel De Jesus Ortega Melendres, on          No. CV-07-2513-PHX-GMS
     behalf of himself and all others similarly
11   situated; et al.,
12                                                 DEFENDANT MARICOPA COUNTY
                           Plaintiffs,
                                                      SHERIFF PAUL PENZONE’S
13    and                                           RESPONSE TO COURT’S DRAFT
14                                                            ORDER
     United States of America,
15
                           Plaintiff-Intervenor,
16
      vs.
17
     Paul Penzone, in his official capacity as
18   Sheriff of Maricopa County, Arizona, et
19   al.,

20                         Defendants.

21          Defendant Maricopa County Sheriff Paul Penzone hereby offers the following
22   responses and objections to the Court’s October 3, 2022 draft Order ruling on Defendants’
23   Motion to Modify Second Order (Doc 2647) and resolving the Order to Show Cause (Doc.
24   2681) (Doc. 2821, Attachment 1) (hereinafter “Draft Order”).
25          The Court’s Draft Order implicates both its equitable injunctive power and its
26   inherent power to impose sanctions to enforce compliance with its orders. Both are subject
27   to important limitations.
28
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 1          It is well established that a Court’s power to impose injunctive relief only extends
 2   so far as necessary to remedy the violation at issue. Rizzo v. Goode, 423 U.S. 362, 378
 3   (1976). This is especially true when injunctive relief is imposed against state actors. Id.
 4   In that context, any injunction “must directly address and relate to the constitutional
 5   violation itself . . . and must not require more of state officials than is necessary to assure
 6   their compliance with the constitution.” Melendres v. Arpaio, 784 F.3d 1254, 1265 (9th
 7   Cir. 2015) (internal quotation marks and citations omitted). An injunction “exceeds the
 8   scope of a district court’s power only if it is ‘aimed at eliminating a condition that does
 9   not violate the Constitution or does not flow from such a violation.’” Id. at 1265 (citation
10   omitted).
11          This standard dovetails with the limitations on the Court’s contempt powers.
12   “Because of their very potency, inherent powers must be exercised with restraint and
13   discretion.” F.J. Henshaw Enters., Inc. v. Emerald River Dev., Inc., 244 F.3d 1128, 1137
14   (9th Cir. 2001) (citation omitted). Consequently, “in selecting contempt sanctions, a court
15   is obliged to use the ‘least possible power adequate to the end proposed.’” Spallone v.
16   United States, 493 U.S. 265, 279 (1990) (citation omitted).
17          A court’s authority to impose civil contempt sanctions is limited to those sanctions
18   that are “coercive or compensatory.” Shell Offshore Inc. v. Greenpeace, Inc., 815 F.3d
19   623, 629 (9th Cir. 2016) (citation omitted). “[C]ivil contempt proceedings serve two
20   purposes: (1) coercing compliance with a court order; and (2) compensating the prevailing
21   party.” Ahearn ex rel. N.L.R.B. v. Int’l Longshore & Warehouse Union, Locals 21 & 4,
22   721 F.3d 1122, 1128 (9th Cir. 2013); see also Int’l Union, United Mine Workers of Am. v.
23   Bagwell, 512 U.S. 821, 829 (1994) (“A contempt fine accordingly is considered civil and
24   remedial if it either coerces the defendant into compliance with the court’s order or
25   compensates the complainant for losses sustained.”) (internal quotation marks, alterations
26   and citation omitted).
27          With these standards in mind, MCSO offers the following responses to the
28   Contempt Findings and proposed Remedies set forth in the Court’s Draft Order.
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 1   I.     The Court’s Contempt Findings
 2          As part of its Contempt Findings, the Court discusses conduct engaged in by
 3   MCSO under the direction of former Maricopa County Sheriff Arpaio that resulted in the
 4   issuance of the Court’s Second Amended Second Supplemental Permanent
 5   Injunction/Judgment Order (Doc. 1765) (the “Second Order”), setting forth
 6   comprehensive directives regarding MCSO’s internal investigation systems. (Draft Order
 7   at 3-4.)
 8          Following the Second Order, MCSO has not been able to keep pace with the
 9   number of complaints filed with its Professional Standards Bureau (“PSB”) that under this
10   Court’s Orders must be processed as administrative investigations. MCSO’s inability to
11   complete investigations within the timeframe required by Paragraph 204 of the Court’s
12   Second Order has resulted in the Court’s Draft Order, including its finding of civil
13   contempt. (Id. at 4-7.) Importantly, the basis for this contempt finding is investigative
14   timelines and the existing backlog, not the quality of investigations or any manipulation
15   of the timing of investigations to avoid discipline. As the Court finds, “the Monitor and
16   the Management Expert both report that the internal investigations in which MCSO does
17   engage are well done and well-intentioned.” (Id. at 5.)
18          Following briefing and argument on Plaintiffs’ and United States’ Joint Motion for
19   an Order to Show Cause in June 2021, Defendants agreed that they would not present any
20   further evidence or arguments contesting a finding of contempt, and that the most
21   reasonable use of the parties’ time would be to focus on the remedies that would bring
22   them into compliance with the deadlines for completing administrative investigations.
23   (Doc. 2663 at 2.) MCSO’s efforts to manage its case load are detailed in the Management
24   Expert’s Report (Doc. 2790 at 13-19), as well as in Sheriff Penzone’s Response to that
25   Management Expert Report (Doc. 2800) and in Sheriff Penzone’s Opposition to Plaintiffs’
26   and United States’ Joint Motion for an Order to Show Cause (Doc. 2616). In addition, by
27   Motion filed in May 2021 (Doc. 2647), MCSO proposed for Court approval changes it
28   believed would help reduce the backlog.
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 1          The Draft Order states that “Sheriff Penzone’s non-compliance with the Court’s
 2   orders have been knowing and continuous.” (Draft Order at 6.) The Sheriff requests that
 3   this statement be narrowed in the final Order to refer to the specific paragraphs in the
 4   Second Order that concern the deadlines for completing PSB investigations and PSB
 5   staffing – Paragraphs 195 and 204. Under Sheriff Penzone, significant progress has been
 6   made in the quality of internal investigations, ending the racial profiling that occurred
 7   under Sheriff Arpaio, responding to evidence of potential bias, and addressing other
 8   aspects of the Court’s comprehensive Orders that affected virtually every aspect of the
 9   Sheriff’s Office. Although there is more work to be done, as of the Monitor’s last quarterly
10   report, the Sheriff’s Office was in compliance with most of the requirements in this
11   Court’s Orders. (Doc. 2802 at 5.) Specifically, with respect to the Court’s Supplemental
12   Permanent Injunction/Judgment Order (Doc. 606) (“First Order”), the Monitor has found
13   MCSO to be in Phase 1 compliance with 99% of the Order and Phase 2 compliance with
14   80% of the Order. (Id.) With respect to the Court’s Second Order, the Monitor has found
15   MCSO to be in Phase 1 compliance with 100% of the Order and Phase 2 compliance with
16   93% of the Order. (Id.) The Sheriff’s Office has been in compliance with many of the
17   Orders’ requirements for more than three years.         (Id. at 8-12.)   The Sheriff fully
18   acknowledges that he is not in compliance with the Second Order deadlines for completing
19   investigations, which are the subject of the contempt proceeding, but it is not accurate to
20   broadly refer to non-compliance with this Court’s Orders.
21          The Draft Order also asserts that the Sheriff has not argued that “any other police
22   agency in the state has developed investigative backlogs like those that have developed in
23   the MCSO since he took office.” (Id. at 6-7.) While it may be true that other police
24   agencies in the state are not facing similar investigative backlogs, no other agency has
25   been subject to the same order-related requirements that apply to MCSO. Thus, there can
26   be no fair comparison between the investigative caseloads between agencies. Sheriff
27   Penzone submits that the Court’s findings regarding other law enforcement agencies in
28   the state should therefore be removed from the final Order.
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 1   II.    Proposed Remedies
 2          A. Paragraphs 339-343
 3          Paragraph 340 provides, in part, “[t]he staffing referred to by Mr. Gennaco,
 4   together with the full staffing of the vacant positions he referred to is the minimum
 5   investigator staffing number.” (Draft Order ¶ 340 (citing Doc. 2790 at 15).) This
 6   paragraph further provides that “for every month the number of PSB investigators falls
 7   below the minimum investigator staffing number,” MCSO will be required to pay five
 8   times the annual cost of a PSB sergeant position. (See id. ¶¶ 340; 338.)
 9          The report issued by the Court’s Management Expert, Michael Gennaco, indicates
10   that in April 2022, MCSO reported a total of 32 non-criminal investigators within PSB.
11   (Doc. 2790 at 15.) Mr. Gennaco appears to have appropriately excluded the criminal
12   investigators working for PSB because those investigators do not conduct administrative
13   misconduct investigations. He also reports that seven budgeted investigator positions
14   remained vacant at the time. (Id.) Thus, it appears that the “minimum investigator staffing
15   number” contemplated by Paragraph 340 is 39 investigators. However, because the
16   importance of the “minimum investigator staffing number,” Sheriff Penzone asks that the
17   Court clarify in its final Order that the minimum number of PSB investigators referred to
18   in Paragraph 340 is 39 investigators.
19          Additionally, Sheriff Penzone submits that the language used in Paragraph 339
20   regarding the staffing that PSB is required to maintain while a backlog of cases exists
21   should mirror the language used in Paragraph 340 regarding the “minimum investigator
22   staffing number” that PSB must maintain. Aligning the terminology used in these two
23   paragraphs would provide additional clarity regarding the requirements of the Court’s
24   Order and MCSO’s specific staffing obligations. As a result, Sheriff Penzone requests
25   that the Court modify Paragraph 339 in its final Order to state: “MCSO must not reduce
26   the staffing levels at PSB below the minimum investigator staffing number identified in ¶
27   340 while a backlog in open administrative investigations remains.”
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 1          Further, Sheriff Penzone submits that the minimum number of investigators
 2   required by Paragraphs 340-342 should not differ based on whether those investigators
 3   are sworn investigators or civilian investigators. There is no difference in the job function
 4   performed by civilian versus sworn investigators, thus the minimum number of
 5   investigators required by the Court’s final Order should not differ based on the
 6   individuals’ sworn status. Thus, Sheriff Penzone requests that the Court clarify in its final
 7   Order that the “minimum staffing number” referred to in the final sentence of Paragraphs
 8   341 and 342 is the same number as the “minimum investigator staffing number” identified
 9   in Paragraph 340.
10          In addition to seeking clarification on the minimum investigative staffing number
11   required by Paragraphs 340-342, Sheriff Penzone submits that fines are not needed to
12   achieve compliance with the timeline requirements of the Second Order. Further, Sheriff
13   Penzone objects to the fines identified in Paragraphs 340-342 to the extent they seek to
14   impose a fine equal to five times the annual cost of a PSB sergeant “for every month the
15   number of PSB investigators falls below the minimum staffing number.” (Draft Order ¶¶
16   340-342.) “[I]n selecting contempt sanctions, a court is obliged to use the ‘least possible
17   power adequate to the end proposed.’” Spallone, 493 U.S. at 279 (citation omitted). The
18   monthly fines imposed by Paragraphs 340-342 exceed what is necessary to achieve the
19   hiring requirements set by the Court. This is particularly true considering the immediate
20   imposition of these substantial fines each month that “the number of PSB investigators
21   falls below the minimum staffing number,” and the number of factors outside of MCSO’s
22   control when it comes to maintaining staffing numbers. (Draft Order ¶¶ 340-341.) For
23   example, MCSO cannot force investigators to remain employed by the agency. An
24   investigator (or several investigators) could resign their employment at any time without
25   notice or warning, thereby bringing the PSB staffing below the minimum investigator
26   staffing number through no fault of MCSO. In this situation, under Paragraphs 340-342,
27   MCSO would be immediately subject to substantial fines, due each month, until the
28   vacated position(s) is/are filled. Further, the hiring process takes time. Even where an
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 1   investigator provides notice of their intended departure, MCSO will need time to hire a
 2   replacement. Sheriff Penzone therefore respectfully requests that the Court provide for a
 3   60-day period following the departure of a PSB investigator to allow MCSO time to hire
 4   a replacement, before any fines are imposed.
 5          Sheriff Penzone also asks that the Court remove the reference in Paragraph 341 to
 6   A.R.S. § 38-1117, and the reference in Paragraph 343 to “state law,” because the inclusion
 7   of these references is not necessary for the Court’s Order. At this time, the state courts
 8   have not interpreted A.R.S. § 38-1117. If a state court interprets this new law in a way
 9   that arguably prevents MCSO from utilizing civilian investigators, Sheriff Penzone will
10   promptly raise the issue with the Court pursuant to Paragraph 367.
11          B. Paragraph 344
12          Paragraph 344 requires that MCSO “demonstrate its use of overtime or other
13   administrative tools to increase the personnel hours committed to investigate all types of
14   complaints.” (Id. ¶ 344.) However, this paragraph does not define how the Court would
15   like MCSO to demonstrate its use of overtime or other administrative tools. Sheriff
16   Penzone therefore asks that the Court modify Paragraph 344 in its final Order to clarify
17   how the Court would prefer that MCSO demonstrate the use of overtime or other
18   administrative tools and suggests that MCSO be required to report this information to the
19   Monitor on a monthly basis.
20          Further, Sheriff Penzone submits that Paragraph 344 should be limited to
21   misconduct complaints as opposed to “all types of complaints,” which may include
22   complaints that do not allege misconduct, and requests that the Court modify Paragraph
23   344 in its final Order to accordingly.
24          C. Paragraph 345
25          Paragraph 345 directs MCSO to create a “PSB Staffing Fund,” into which the
26   amounts set forth in Paragraphs 340-342 and 357 will be paid. (Id. ¶ 345.) This paragraph
27   also provides that MCSO may only make withdrawals from this fund (a) “for the hiring
28   and payment of additional PSB investigators or private investigators contracted with PSB
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 1   who are in compliance with the requirements of state law,” or (b) to hire “additional PSB
 2   administrative staff and necessary additional PSB supervisory staff.” (Id. (emphasis
 3   added).) Paragraph 345 further provides that this fund cannot be used “to subsidize the
 4   number of PSB staff and investigators existing at the time of this Order.” (Id.)
 5          As an initial matter, Sheriff Penzone submits that to the extent that a PSB Staffing
 6   Fund is to be created, it would most likely be created by Maricopa County and not MCSO.
 7   Therefore, Sheriff Penzone requests that the Court modify Paragraph 345 to include
 8   reference to Maricopa County in the first sentence so that Paragraph 345 states: “MCSO
 9   and/or Maricopa County shall hereby establish a PSB Staffing Fund . . . .”
10          Additionally, Sheriff Penzone seeks clarification from the Court regarding the
11   appropriate uses of the PSB Staffing Fund, should MCSO or Maricopa County be required
12   to deposit any money into that fund. Paragraph 345 does not define the meaning of the
13   term “additional,” as that phrase is used in connection with investigative, administrative,
14   and supervisory staff identified in that paragraph. As written, it appears that the Court
15   may intend that the PSB Staffing Fund may be used to fund any PSB staff or contract
16   positions beyond those in existence at the time the final Order is issued, including the
17   additional investigator positions discussed in Paragraphs 340-342, and any additional
18   contract investigators that MCSO may engage following the issuance of the Court’s final
19   Order. However, to ensure that the PSB Staffing Fund is used appropriately, Sheriff
20   Penzone asks that the Court clarify in its final Order precisely which positions the PSB
21   Staffing Fund may be used for.
22          Finally, Sheriff Penzone also asks that the Court remove the reference in Paragraph
23   345 to investigators “who are in compliance with the requirements of state,” because the
24   inclusion of these references is not necessary for the Court’s Order. At this time, the state
25   courts have not interpreted A.R.S. § 38-1117. If a state court interprets this new law in a
26   way that arguably prevents MCSO from utilizing civilian investigators, Sheriff Penzone
27   will promptly raise the issue with the Court pursuant to Paragraph 367.
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 1          D. Paragraphs 346
 2          Paragraph 346 grants the Monitor “immediate authority to oversee all of MCSO’s
 3   complaint intake and routing,” and provides that the Monitor, in consultation with the PSB
 4   Commander, “shall make determinations and establish policy decisions” regarding which
 5   complaints should be investigated and which should be handled through other methods
 6   such as interventions, diversions, or outsourcing to other entities. (Id. ¶ 346.) In support
 7   of this broad grant of authority, the Court vacates Paragraph 292 of the Court’s Second
 8   Order which provides, in part, that “the Monitor does not have authority to direct or
 9   participate in the investigations of or make any orders as to matters that do not qualify as
10   Class Remedial Matters.” (Second Order ¶ 292.)
11          In footnote 3 of the Draft Order, the Court makes clear that in granting this authority
12   to the Monitor, the Court is “expanding the Monitor’s duties to include those of the
13   Constitutional Policing Authority as recommended by Mr. Gennaco.” (Draft Order ¶ 346,
14   n.3.) In his report, Mr. Gennaco recommended the creation of a Constitutional Policing
15   Advisor who would provide an independent voice on intake and routing decisions of
16   allegations of misconduct and could “increase trust of the parties, the Monitor, the
17   community, and the Court in how MCSO decides how [sic] to handle each allegation of
18   misconduct.” (Doc. 2790 at 27.) Mr. Gennaco further recommended that the CPA’s
19   involvement in the intake and routing process could provide an opportunity to grant
20   MCSO somewhat broader discretion in how it handles misconduct complaints so that it
21   “would be better positioned to utilize its investigative resources more effectively while
22   continuing to serve the larger goals of the process.” (Id.)
23          Sheriff Penzone recognizes that in appointing the Monitor to serve as the
24   Constitutional Policing Authority, the Court necessarily must grant the Monitor some
25   additional authority over the complaint intake and routing process. However, Sheriff
26   Penzone objects to any implication that this involvement by the Monitor is necessary due
27   to issues with PSB’s complaint intake or classification decisions. There has been no
28   finding that MCSO has failed to properly conduct complaint intake and classification
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 1   issues. In fact, the Monitor has consistently found MCSO to be in compliance with the
 2   Court Order in connection with such issues. MCSO has been in Phase 1 and Phase 2
 3   compliance with Paragraph 188 of the Second Order since the Second Quarter of 2017
 4   (Monitor’s Thirteenth Quarterly Report (Doc. 2167) at 169) and has been in Full and
 5   Effective Compliance with this paragraph since the Second Quarter of 2021. (Monitor’s
 6   Corrected Twenty-Ninth Report (Doc. 2756) at 180.)
 7          Additionally, Sheriff Penzone submits that to the extent that the Monitor is granted
 8   authority to “make determinations and establish policy decisions” regarding how
 9   complaints should be handled, that authority should be limited to making such decisions,
10   in consultation with the PSB Commander, consistent with the policies and procedures
11   established pursuant to Paragraphs 348 and 353 of the Order. Accordingly, Sheriff
12   Penzone asks that the Court modify the final sentence in Paragraph 346 in its final Order
13   to state: “In consultation with the PSB Commander, the Monitor shall make
14   determinations and establish policy decisions regarding how complaints should be
15   handled consistent with the policies established pursuant to Paragraphs 348 and 353 of
16   this Order.”
17          Sheriff Penzone further submits that the grant of authority to the Monitor to oversee
18   PSB’s complaint intake and routing should be limited to the period of time necessary for
19   PSB to address the backlog in open investigations. The Sheriff therefore requests that the
20   Court modify Paragraph 346 in its final Order to explicitly provide that the powers granted
21   to the Monitor in this paragraph are a temporary measure and will cease when MCSO is
22   able to demonstrate for four consecutive quarters that it has reduced the backlog defined
23   in Paragraph 356 to the point where it consists of no more than 10% of the then-pending
24   administrative investigations.
25          E. Paragraph 347
26          Paragraph 347 directs the Monitor to revise and formalize MCSO’s complaint
27   intake and routing processes and grants the Monitor authority to “audit and review
28   decisions made with respect to individual cases and, if necessary, to change such
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 1   designations.” (Draft Order ¶ 347.) This paragraph of the Draft Order also requires the
 2   Sheriff and MCSO to “expeditiously implement the Monitor’s directions or decision with
 3   respect to intake and routing, and any other issues raised by the Monitor.” (Id.)
 4          Sheriff Penzone seeks clarification from the Court regarding the authority granted
 5   to the Monitor in Paragraph 347. As written, this paragraph can be read to require the
 6   Sheriff and MCSO to implement any decision or direction from the Monitor with respect
 7   to any issue involving the MCSO. It is not clear if the Court intended to provide such a
 8   broad grant of power to the Monitor in Paragraph 347, or if the Court intended to create a
 9   more limited grant of authority relating to complaint intake and routing issues.
10   Accordingly, Sheriff Penzone asks that the Court clarify what is meant by “any other
11   issues raised by the Monitor,” as that phrase is used in Paragraph 347.
12          To the extent that Paragraph 347 is intended to apply to issues beyond those
13   involving complaint intake and routing, Sheriff Penzone objects to this unlimited grant of
14   authority over MCSO’s operations to the Monitor. Nothing in the Court’s Contempt
15   Findings supports a remedy as far-reaching as this. “[I]n selecting contempt sanctions, a
16   court is obliged to use the ‘least possible power adequate to the end proposed.’” Spallone,
17   493 U.S. at 279 (citation omitted). As written, the requirement in Paragraph 347 that
18   “[t]he Sheriff and MCSO shall expeditiously implement the Monitor’s directions or
19   decisions with respect to intake and routing, and any other issues raised by the Monitor,”
20   exceeds what is required. (Draft Order (emphasis added).) Sheriff Penzone therefore asks
21   that the Court modify Paragraph 347 in its final Order to strike the phrase “and any other
22   issues raised by the Monitor.”
23          In addition, Sheriff Penzone requests that the Court further modify Paragraph 347
24   in its final Order to explicitly provide that the powers granted to the Monitor in that
25   paragraph are a temporary measure and will cease when MCSO is able to demonstrate for
26   four consecutive quarters that it has reduced the backlog defined in Paragraph 356 to the
27   point where it consists of no more than 10% of the then-pending administrative
28   investigations.
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 1          F. Paragraph 348
 2          Paragraph 348 instructs that “PSB, under the authority of the Monitor, shall create,
 3   and submit for the Monitor’s approval,” certain policies targeted at streamlining
 4   investigations and establishing timelines for investigations and supervisory interventions.
 5   (Id. ¶ 348.) Sheriff Penzone submits that while some of the issues identified in Paragraph
 6   348 will require policy changes, many of the issues are more appropriately addressed
 7   through revisions to the PSB Operations Manual, than in specific policies. The Sheriff
 8   therefore requests that Paragraph 348 be modified in the Court’s final Order to allow PSB
 9   to create and submit for the Monitor’s approval “policies and procedures” that address the
10   issues identified in Paragraph 348.1
11          In addition, Sheriff Penzone seeks clarification from the Court regarding Paragraph
12   348(e). Paragraph 348(e) requires that PSB create and submit a policy to the Monitor to
13   “[a]ssess current use of IA Pro as a case management/tracking tool.” (Id. ¶ 348(e).)
14   Sheriff Penzone reads this subparagraph to require that PSB assess its use of IA Pro as a
15   case management tool and create and submit for the Monitor’s approval policies or
16   procedures that recommend changes in PSB’s current use of IA Pro. Because this
17   subparagraph addresses only the assessment of the IA Pro tool, and not the content to be
18   included in a specific policy or procedure, Sheriff Penzone seeks clarification from the
19   Court as to whether his understanding of Paragraph 348(e) is in line with the Court’s
20   expectations and asks that the Court modify Paragraph 348(e) in its final Order to provide
21   that clarification.
22          G. Paragraph 352
23          Paragraph 352 grants the Monitor broad authority to “intervene in the course of any
24   investigation, if he deems it appropriate.” (Id. ¶ 352.) This, coupled with the language in
25   Paragraph 346 that vacates Paragraph 292 of the Second Order, results in dramatic shift
26   in authority over internal investigations within MCSO from the Sheriff and the
27
     1
            The term “[p]olicies and [p]rocedures” is defined in Paragraph 1(ii) of the Court’s
28   First Order (Doc. 606 at 7).
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 1   Commander of PSB, to the Monitor. Sheriff Penzone objects to this far-reaching grant of
 2   authority to the Monitor.
 3          Nothing in the Court’s Contempt Findings supports such a broad remedy. As
 4   explained above, there is no indication in either the Court’s Draft Order, or otherwise, that
 5   under the leadership of Sheriff Penzone, MCSO has conducted “biased or faulty internal
 6   investigations,” such that intervention by the Monitor in a case investigation would be
 7   necessary or warranted. (Id. at 4.) To the contrary, the Court’s Contempt Findings make
 8   clear that both the Monitor and the Court’s Management Expert report that the internal
 9   investigations MCSO conducts “are well done and well-intentioned.” (Id. at 5 (citing Doc.
10   2790 at 10-11).) At a minimum, the Monitor’s authority to intervene in investigations
11   should be limited to situations where he has deemed it necessary to facilitate the
12   elimination of the backlog. Accordingly, Sheriff Penzone asks that the Court modify
13   Paragraph 352 in its final Order to state: “The Monitor may intervene in the course of any
14   investigation, if he deems it appropriate for the purpose of facilitating the elimination of
15   the backlog, and will document his actions in a quarterly report to be submitted to the
16   Court.”
17          Additionally, Sheriff Penzone submits that Paragraph 352 should further be
18   modified to explicitly provide that the powers granted to the Monitor in this paragraph are
19   a temporary measure and will cease when MCSO is able to demonstrate for four
20   consecutive quarters that it has reduced the backlog defined in Paragraph 356 to the point
21   where it consists of no more than 10% of the then-pending administrative investigations.
22          H. Paragraph 353
23          In response to Paragraph 353, Sheriff Penzone notes that subparagraph (c) appears
24   to be duplicative of the portion of subparagraph (b) that addresses anonymous complaints
25   and recommends that duplicative language be eliminated from the Order.
26          I. Paragraph 356
27          Paragraph 356 establishes the process through which the Monitor will determine
28   the initial number of open cases in the backlog after the review contemplated by Paragraph
                                                 13
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 1   355 is complete. Thereafter, Paragraph 356 provides that the number of cases in the
 2   backlog will be assessed at the beginning of each month and will consist of the open
 3   administrative investigations that “have not been completed within the time limits required
 4   by the Court.” (Id. ¶ 356.) Sheriff Penzone asks that the Court modify Paragraph 356 in
 5   its final Order to clarify that the “backlog” as defined in Paragraph 356, will not include
 6   any cases for which a valid extension of an investigative deadline is granted by the
 7   Monitor pursuant to Paragraph 365.
 8          J. Paragraph 357
 9          Paragraph 357 requires that PSB reduce the backlog by at least 20 cases each month
10   and provides that “[f]or each month in which the PSB cannot reduce the remaining
11   backlog by at least 20 cases from the previous month’s number, the MCSO and/or
12   Maricopa County shall pay into the PSB staffing Fund two times the amount identified in
13   ¶ 338 above.” (Id. ¶ 357.) Here again, Sheriff Penzone submits that fines are not needed
14   to achieve compliance with the timeline requirements of the Second Order. Further, to
15   the extent that Paragraph 357 imposes fines equal to twice the annual salary of a PSB
16   sergeant each month in which PSB is unable to reduce the backlog by the required number
17   of cases, Sheriff Penzone submits this number exceeds what is necessary to compel
18   compliance with the Court’s Second Order. “[I]n selecting contempt sanctions, a court is
19   obliged to use the ‘least possible power adequate to the end proposed.’” Spallone, 493
20   U.S. at 279 (citation omitted).
21          While Sheriff Penzone recognizes the Court’s intention to impose a minimum
22   number by which the backlog must be reduced each month, he submits that at this juncture,
23   it is too early to establish a numerical requirement for the monthly reduction. As
24   contemplated by Paragraph 356, the number of cases in the backlog will adjust monthly
25   based on “the number of open cases whose investigations have exceeded the time by which
26   Doc. 1765 ¶ 204 required that they be completed.” (Draft Order ¶ 356.) At least initially,
27   this means that while MCSO works to reduce the backlog, “giving priority to the oldest
28   cases” as the Court indicates it should in Paragraph 357, additional cases will be added to
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 1   the backlog number each month. (Id. ¶ 357.) Thus, to remain compliant with Paragraph
 2   357, MCSO will be required to close the number of cases established in Paragraph 357
 3   plus the number of cases added to the backlog for that month because they have not been
 4   completed within the timeframe established in Paragraph 204 of Doc. 1765. In other
 5   words, the number of cases in the existing backlog and the number of new cases opened
 6   each month will greatly impact MCSO’s ability to remain in compliance with Paragraph
 7   357. As a result, Sheriff Penzone submits that the Court should refrain from setting a
 8   numerical requirement by which the backlog should be reduced each month until the
 9   impact of the changes contemplated by Paragraph 353 on both the existing backlog and
10   the number of investigations opened each month is determined.
11           Sheriff Penzone asks that the Court modify Paragraph 357 in its final Order to
12   remove the requirement that the backlog be reduced by 20 cases per month, and instead
13   order that within 30 days from the date that MCSO and the Monitor complete the review
14   of the existing administrative misconduct cases contemplated by Paragraph 355, the
15   Monitor recommend to the Court the number of cases he believes would be an appropriate
16   and realistic number by which PSB can reduce the backlog each month. At that time, this
17   Court could make a final determination as to the minimum number by which MCSO must
18   reduce the backlog each month for purposes of Paragraph 357.
19           K. Paragraphs 361-362
20           In Paragraph 361, the Court orders MCSO to commission an independent staffing
21   study “under the direction of the Court,” and sets forth certain requirements for that study.
22   (Draft Order ¶ 361.) In Paragraph 362, the Court acknowledges that “MCSO has already
23   engaged a consultant to undertake a similar evaluation” to that contemplated by Paragraph
24   361, but notes that “while the Court will consider both the qualifications of the consultant
25   already hired by MCSO and the outcome of that study, the work of that consultant . . . will
26   not be deemed to satisfy the terms of this Order absent the approval of this Court.” (Id. ¶
27   362.)
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 1             Paragraph 362 does not establish any procedure by which MCSO should seek the
 2   Court’s approval of the consultant’s qualifications or the study that the consultant will
 3   complete. Sheriff Penzone submits that to the extent that the Court intends to evaluate the
 4   qualifications of the consultant engaged by MCSO, it would be most efficient for the Court
 5   to conduct that review at the outset, before the consultant has spent substantial time and
 6   MCSO has committed substantial resources to that study. Sheriff Penzone therefore asks
 7   that the Court modify Paragraph 362 to provide further detail regarding the process MCSO
 8   should follow to obtain the Court’s review of its vendor and the study completed, and that
 9   the Court conduct its review of the vendor’s qualifications shortly after issuance of the
10   final Order.
11                                           CONCLUSION
12             For the reasons set forth herein, Sheriff Penzone respectfully requests that the Court
13   make the modifications to its Draft Order as set forth herein.
14
15             Dated this 17th day of October, 2022.
16                                              OSBORN MALEDON, P.A.
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18
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